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 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11     UNITED STATES OF AMERICA,                       No. 1:18-CR-00212-DAD-BAM

12                       Plaintiff,

13              v.                                     PRELIMINARY ORDER OF FORFEITURE

14     PATRICK J. WALLACE, and
       MICHAEL L. CROCKER,
15
                         Defendants.
16

17

18           Based upon the plea agreements entered between the United States and defendants Patrick

19   J. Wallace and Michael L. Crocker it is hereby ORDERED, ADJUDGED AND DECREEED as

20   follows:

21           1.      Pursuant to 18 U.S.C. § 982(a)(2)(B), 18 U.S.C. § 492, and 28 U.S.C. § 2461(c),

22   Patrick J. Wallace and Michael L. Crocker’s interest in the following property shall be

23   condemned and forfeited to the United States of America, to be disposed of according to law:

24                   a. Computer Equipment/Laptop, Make: HP, Model: 2000, serial number

25                      5CG3473GCC;

26                   b. Computer Equipment/Storage Device, Make: SeaGate, Model: FreeAgent

27                      GoFlex Desk, serial number NA0KJGRB, portable hard drive with adapter;

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 1              c. Computer Equipment/Storage Device, Make: WD, Model: My Passport Ultra,

 2                 serial number WXH1E85EWFMZ, portable hard drive;

 3              d. Computer Equipment/Storage Device, Make: LFL, Model: N/A, serial number:

 4                 N/A, USB flash drive, shape of Darth Vader;

 5              e. Computer Equipment/Storage Device, Make: PNY, Model: 16GB USB flash

 6                 drive;

 7              f. Communication Devices-Portable/Cell Phone, Make: LG, Model: LS675,

 8                 Serial Number: 603CYHE 1119497;

 9              g. Communication Devices-Portable/Cell Phone, Make: Samsung, Model: SM-

10                 J700T1, Serial Number: J700T1 UVU1APD3;

11              h. Communication Devices-Portable/Cell Phone, Make: Samsung, Model: SM-

12                 J327P, Serial Number: HEX 352 618 097 216 55;

13              i. Communication Devices-Portable/Cell Phone, Make: PNY, Model: 16GB;

14              j. Communication Devices-Portable/Cell Phone, Make: PNY, Model: 16GB;

15              k. Computer Equipment/Printer, Make: Epson, Model: WF-2630, Serial Number:

16                 UMAY627891;

17              l. Three bags containing counterfeit making paraphernalia, including printer ink,

18                 acrylic paint, pigment, tools, brushes, rollers, markers, scissors, glue,

19                 spraycans, food coloring, gloves, sandpaper, razors, solvent, kettle, iron, and

20                 paper;
21              m. Two tables containing counterfeit making images;

22              n. The value, if any, on First California Bank, Visa Global Cash Card, account

23                 number ending in 5604;

24              o. The value, if any, on Green Dot Bank Visa Card, account number ending in

25                 6912;

26              p. Miscellaneous rewards cards in defendant’s name;
27              q. Miscellaneous boxes of blank printer paper and various loose sheets of printer

28                 paper containing images of U.S. Currency;
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 1                  r. Pen+Gear expanding file containing counterfeit currency;

 2                  s. Bleached genuine $1 Federal Reserve Notes;

 3                  t. Bleached genuine $100 Federal Reserve Notes;

 4                  u. iFly brand rolling suitcase with miscellaneous items;

 5                  v. REI coop bag containing hiking pack and water bottles;

 6                  w. New Balance shoes, black in color, in box;

 7                  x. JCPenny bag containing Nike Flex and Nike Downshifter shoes, with boxes;

 8                  y. Fragrance Outlet bag containing cologne and lotion merchandise;

 9                  z. Petco bag containing dog accessories;

10                  aa. Andis MBG-2 Easy Clip groom electric clipper;

11                  bb. Puma hat with Marshalls with retail tags;

12                  cc. Casio G-Shock watch; and,

13                  dd. HP Chromebook 14 laptop; serial number: 5CD8209KYR.

14          2.      The above-listed assets constitute material or apparatus used or fitted or intended

15   to be used, in the making of counterfeits, articles, devices or things, found in the possession of

16   any person without authority from the Secretary of the Treasury or other proper officer in

17   violation of 18 U.S.C. § 474, or constitutes property that was derived from, proceeds obtained

18   directly or indirectly, as the result of a violation of 18 U.S.C. § 474.

19          3.      Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized

20   to seize the above-listed property. The aforementioned property shall be seized and held by the
21   United States Secret Service in its secure custody and control.

22          4.      a.      Pursuant to 18 U.S.C. § 982(b)(1) and 28 U.S.C. § 2461(c), incorporating

23   21 U.S.C. § 853(n), and Local Rule 171, the United States shall publish notice of the order of

24   forfeiture. Notice of this Order and notice of the Attorney General’s (or a designee’s) intent to

25   dispose of the property in such manner as the Attorney General may direct shall be posted for at

26   least 30 consecutive days on the official internet government forfeiture site www.forfeiture.gov.
27   The United States may also, to the extent practicable, provide direct written notice to any person

28   known to have alleged an interest in the property that is the subject of the order of forfeiture as a
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 1   substitute for published notice as to those persons so notified.

 2                  b.       This notice shall state that any person, other than the defendant, asserting

 3   a legal interest in the above-listed property, must file a petition with the Court within sixty (60)

 4   days from the first day of publication of the Notice of Forfeiture posted on the official

 5   government forfeiture site, or within thirty (30) days from receipt of direct written notice,

 6   whichever is earlier.

 7          5.      If a petition is timely filed, upon adjudication of all third-party interests, if any,

 8   this Court will enter a Final Order of Forfeiture pursuant to 18 U.S.C. § 982(a)(2)(B), 18 U.S.C.

 9   § 492, and 28 U.S.C. § 2461(c), in which all interests will be addressed.

10   IT IS SO ORDERED.
11
        Dated:     September 17, 2019
12                                                       UNITED STATES DISTRICT JUDGE

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